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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., DOMINION                        )
VOTING SYSTEMS, INC., and DOMINION                 )
VOTING SYSTEMS CORPORATION,                        )   Civil Action No. 1:21-cv-02131 (CJN)
                                                   )   (MAU)
       Plaintiffs,                                 )
                                                   )
           v.                                      )   Judge Carl J. Nichols
                                                   )
PATRICK BYRNE,                                     )   Magistrate Judge Moxila A. Upadhyaya
                                                   )
      Defendant.                                   )   JURY TRIAL DEMANDED
                                                   )

  [PROPOSED] ORDER GRANTING PLAINTIFFS’ EMERGENCY MOTION FOR
                PROTECTIVE RELIEF AND TO DISQUALIFY COUNSEL

      Upon consideration of Plaintiffs’ Emergency Motion for Protective Relief and to

Disqualify Counsel and deliberation given thereto, the Motion is hereby GRANTED.

      Stefanie Lambert and Patrick Byrne are hereby prohibited from accessing any Dominion

discovery materials and shall return or destroy any such materials in their possession. Lambert

and Byrne are further ORDERED to each provide a full accounting, in the form of sworn

affidavits to be provided no later than 5 pm on March 19, 2024, providing:

          •     The date of any fee agreement between Lambert and Byrne and the scope of

                representation or, if no such agreement exists, the date on which Lambert and Byrne

                understand that a lawyer/client relationship;

          •     A complete and accurate list of all Dominion-produced documents and information

                Byrne reviewed and the method and date of access;

          •     An accounting from Byrne’s outside vendor showing what documents Byrne and

                or Lambert accessed, on what date, and whether they were downloaded; as well as
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               any other data the vendor indicates may be helpful to Dominion’s or this Court’s

               efforts to understand the breach;

           •   A complete and accurate list of all Dominion-produced documents and information

               Lambert received and the method and date of access;

           •   An account of every step Lambert, Byrne’s prior counsel from the McGlinchey

               firm, has already undertaken or that is underway to determine the scope of the

               breach and to ensure it is not continuing; and

           •   An accounting attesting (i) to whom Lambert and/or Byrne leaked, released, or

               otherwise disclosed documents or information protected by the Protective Order

               (including in court filings in any cases outside of this case); (ii) how and when they

               provided it; (iii) every occasion on which they did so; and (iv) for each such

               instance, what specifically was leaked, released, or otherwise disclosed.

       For the reasons set forth in Dominion’s motion, it is further ORDERED that Stefanie

Lambert is disqualified as counsel in this case.

       IT IS SO ORDERED.


SIGNED this ______ day of _____________, 2024



                                              _______________________________________
                                              THE HONORABLE CARL J. NICHOLS
                                              UNITED STATES DISTRICT JUDGE



                                              ________________________________________
                                              THE HONORABLE MOXILA A. UPADHYAYA
                                              UNITED STATES MAGISTRATE JUDGE
